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                                   22-11789



                                     IN THE


     United States Court of Appeals
                     FOR THE ELEVENTH CIRCUIT

                         d
     SEAN SHEFFLER , on behalf of himself and all others similarly situated,
              TY BAUGH , BELINDA GOSS , TRAVIS ROGERS ,
                                                             Plaintiffs-Appellants,
                                     —v.—

             AMERICOLD REALTY TRUST , a Maryland corporation,
                                                              Defendant-Appellee.


               ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA



                BRIEF FOR PLAINTIFFS-APPELLANTS




                                              KENYA J. REDDY
                                              JOHN YANCHUNIS
                                              MORGAN & MORGAN , PA
                                              201 North Franklin Street, 7th Floor
                                              Tampa, Florida 33602
                                              (813) 223-5505
                                              Attorneys for Plaintiffs-Appellants
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                CERTIFICATE OF INTERESTED PERSONS


      Pursuant to Federal Rule of Appellate Procedure 26.1 and 11th Circuit Rule

26.1-1, Appellants, Sean Sheffler, Ty Baugh, Belinda Goss, and Travis Rogers,

respectfully submit the following Certificate of Interested Persons:

      1.     Americold Realty Trust, Inc., formerly known as Americold Realty

             Trust (Appellee)

      2.     Batten, Timothy C. (United States District Judge, Northern District of

             Georgia)

      3.     Baugh, Ty (Appellant)

      4.     Bosseler, Gregory John (Counsel for Appellants)

      5.     Brown, Kristine M. (Counsel for Appellee)

      6.     Goss, Belinda (Appellant)

      7.     Maxey, Ryan D. (Counsel for Appellants)

      8.     Miller, M. Ashley (Counsel for Appellee)

      9.     Reddy, Kenya J. (Counsel for Appellants)

      10.    Reinke, Gavin (Counsel for Appellee)

      11.    Rogers, Travis (Appellant)

      12.    Sheffler, Sean (Appellant)



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    13.   Yanchunis, John A. (Counsel for Appellants)




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              STATEMENT REGARDING ORAL ARGUMENT

      Appellants do not believe that oral argument in necessary in this case, as the

issues involved are fairly straightforward and uncomplicated.




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                  STATEMENT OF SUBJECT-MATTER AND
                       APPELLATE JURISDICTION

      The district court has subject matter and diversity jurisdiction over this case

pursuant to 28 U.S.C. § 1332(d), as this is a class action wherein the amount in

controversy exceeds the sum or value of $5 million, exclusive of interest and costs,

there are more than 100 members in the proposed class, and at least one Class

Member is a citizen of a state different from Appellee.

      This Court has jurisdiction over this appeal pursuant to 28 U.S.C. § 1291, as

this is an appeal from two final decisions of the district court, specifically the district

court’s Order granting Appellee’s Motion to Dismiss and the district court’s Order

denying Appellants’ Motion to Vacate Order of Dismissal and Judgment and for

Leave to File Amended Complaint Under Rules 59(e) and 60(b).

      The district court entered the Order denying the Motion to Vacate on April

21, 2022. Appellants timely filed their Notice of Appeal on May 20, 2022. See Fed.

R. App. P. 4.




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                         STATEMENT OF THE ISSUES

    1. Whether the district court erred in dismissing Appellants’ claims for

       negligence and breach of implied contract?

    2. Whether the district court abused its discretion in denying Appellants’ motion

       to vacate the Order of dismissal and Judgment and for leave to amend the

       complaint?



                          STATEMENT OF THE CASE
I. Factual Background

       This case arises out of a data breach (the “Data Breach”) that compromised

the personal, confidential, and highly sensitive information of more than 141,000

people, including that of the Appellants, Sean Sheffler, Ty Baugh, Belinda Goss, and

Travis Rogers. Am. Compl., Doc. 16, ¶ 4. 1

       For almost 120 years, Appellee Americold Realty Trust, Inc. “has been the

leader in providing technology-based engineered solutions for the temperature-

controlled supply chain industry,” employing “nearly 13,000 Associates.” Id. ¶¶ 2,

24. As a condition of obtaining employment, Appellants and Class Members

provided certain Personally Identifiable Information (“PII”) to Americold. Id. ¶ 41.


1
 As required by 11th Cir. R. 28-5, reference to the record in this brief are to the ECF
document number in the district court and to the page number in the heading
generated by the ECF system, except where reference can be made to a specific
paragraph.

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        In the course of and after providing employment to Appellants and Class

Members, Americold maintained their PII on its servers and within its data

infrastructure. Id. ¶¶ 7, 30, 40. By providing employment and hosting Appellants’

and Class Members’ PII on its servers, Americold undertook legal duties to maintain

the PII entrusted to it safely, confidentially, and in compliance with all applicable

laws. Id. ¶ 42.

        On or about November 16, 2020, Americold became aware of a ransomware

attack on its network. Id. ¶ 3. Americold engaged a cybersecurity firm to investigate

the incident. Id. ¶ 28. The investigation determined that the personal information of

Appellants and Class Members was in files that may have been accessed without

authorization. Id. On or around Americold began notifying Appellants and Class

Members of the Data Breach. Id. ¶ 6. The data that was accessed by an unauthorized

third party during the incident included names, Social Security numbers, dates of

birth, government-issued ID numbers, financial account numbers, credit/debit card

numbers, passwords or login credentials, digital signatures, mother’s maiden names,

birth certificates, biometric information, and/or medical/health insurance

information. Id. ¶¶ 1, 7, 29-30. Following the Data Breach, Americold offered

Appellants and Class Members two years of identity theft detection. Id. ¶ 61; Doc.

16-3.




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      Appellants are current and former employees of Americold and their

beneficiaries and dependents. Doc. 16, ¶¶ 25-26, 30. Although Appellants

historically have been very careful about sharing their PII and have taken efforts to

protect their PII (id. ¶¶ 67-68, 76-77, 87-88, 97-98), they each experienced incidents

of identity theft or attempted identity theft following the Data Breach. An unknown

and unauthorized individual applied for unemployment benefits using Appellant

Sheffler’s Social Security number and data of birth. Id. ¶ 65. An unknown and

unauthorized individual filed federal and state tax returns using Appellant Goss’s

Social Security number. Id. ¶¶ 84-85. An unknown and unauthorized individual

applied for a credit card using Appellant Rogers’ PII. Id. ¶ 95.

      As a result of the Data Breach, Appellants and Class Members have been

exposed to a present and continuing risk of fraud and identity theft and face a

substantial risk of being targeted for present and continuing fraud and other illegal

schemes based on their PII as potential fraudsters could use that information to more

effectively target such schemes to Appellants and Class Members. Id. ¶ 8, 71, 80,

91, 101. To protect themselves, Appellants and Class Members have spent

considerable time exploring and signing up for credit monitoring and identity theft

insurance options, signing up for fraud alerts, and self-monitoring their accounts. Id.

¶¶ 66, 75, 86, 96.




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      Appellants brought this class action lawsuit on behalf of all those similarly

situated to address Americold’s inadequate safeguarding of their PII and failure to

provide them timely and adequate notice that their information had been subject to

the unauthorized access of an unknown third party and precisely what specific type

of information was accessed.

II. Procedural Background

      On March 16, 2021, Appellant Sheffler filed the initial complaint in this

action. Doc. 1. On June 7, 2021, Americold filed a motion to dismiss pursuant to

Rule 12(b). Doc. 12. On June 22, 2021, as a matter of course pursuant to Federal

Rule of Civil Procedure 15(a)(1)(B), Appellant Sheffler filed an Amended

Complaint. Doc. 16

      On July 6, 2021, Americold filed a renewed motion to dismiss under Rule

12(b). Doc. 18. Appellants filed a response to the motion (Doc. 27), Americold filed

a reply to Appellants’ response (Doc. 28), and Plaintiffs filed a sur-reply to

Defendant’s reply (Doc. 32).

      On January 19, 2022, the Court entered an Order dismissing Plaintiffs’ claims

for failure to state a claim and directing the Clerk to close the case. Doc. 33. On the

same day, the Clerk entered judgment dismissing this action. Doc. 34.

      On February 16, 2022, Appellants timely filed a Motion to Vacate Order of

Dismissal and Judgment and for Leave to File Amended Complaint Under Rules


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59(e) and 60(b). Doc. 35. They attached to the motion a proposed Second Amended

Complaint (Doc. 35-1) that restated their previously dismissed claims for negligence

and breach of implied contract and included additional factual allegations intended

to address the pleading deficiencies identified by the district court in the Order of

Dismissal. Americold filed a response to the motion (Doc. 36) and Appellants filed

a reply in support of the motion (Doc. 37).

      On April 21, 2022, the district court entered an Order denying the Motion to

Vacate. Doc. 39. Appellants filed their Notice of Appeal on May 20, 2022.

III. Standard of Review

      This Court conducts a de novo review of “a district court’s dismissal of a

complaint for failure to state a claim upon which relief could be granted, accepting

the allegations in the complaint as true and construing them in the light most

favorable to the plaintiff.” Roberts v. Florida Power & Light Co., 146 F.3d 1305,

1307 (11th Cir. 1998).

      The Court reviews for abuse of discretion the denial of leave to amend, the

denial of a Rule 59(e) motion to alter or amend the judgment, and the denial of a

Rule 60(b) motion. Hartford Cas. Ins. Co. v. Crum & Forster Specialty Ins. Co., 828

F.3d 1331, 1333 (11th Cir. 2016); Thomas v. Farmville Mfg. Co., 705 F.2d 1307,

1307 (11th Cir. 1983).




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                      SUMMARY OF THE ARGUMENT

       The district court improperly dismissed Appellants’ claims for negligence

and breach of implied contract. While acknowledging that Appellants alleged the

foreseeability of the cyberattack that compromised their personal information, the

court required a level of specificity that was not required at the pleading stage.

Similarly, the court dismissed Appellants’ breach of implied contract claim even

though such claims are highly factual and generally not appropriate for resolution at

the pleading stage.

      After dismissing Appellants’ claims without leave to amend, the district court

abused its discretion by denying Appellants’ motion to vacate the judgment to give

them leave to amend their complaint to correct the pleading deficiencies the court

identified in their dismissed complaint. The court applied the incorrect legal

standard, despite a long line of precedent instructing that courts should apply Rule

15(a)’s lenient standard to post-judgment motions to amend pleadings when it

appears that a more carefully drafted complaint might state a claim upon which relief

can be granted.

      For each of these reasons, this Court should reverse the district court’s Orders

and remand this case for further proceedings.




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                                   ARGUMENT

I.    The District Court Erred in Dismissing Appellants’ Claims for
      Negligence and Breach of Implied Contract.

      In its Order of Dismissal, the district court correctly determined Appellants

had Article III standing to bring their claims and had sufficiently alleged injury-in-

fact based on the theft of their PII during the ransomware attack, the subsequent

misuse of their PII, and the measures they took to mitigate the future harm that might

result from the theft of their PII. However, turning to Americold’s Rule 12(b)(6)

challenge, the district court found that Appellants failed to state claims for

negligence and breach of implied contract. Respectfully, Appellants contend these

conclusions were error.

      This Court conducts a de novo review of “a district court’s dismissal of a

complaint for failure to state a claim upon which relief could be granted, accepting

the allegations in the complaint as true and construing them in the light most

favorable to the plaintiff.” Roberts v. Florida Power & Light Co., 146 F.3d 1305,

1307 (11th Cir. 1998).

      A. Appellants Adequately Alleged a Common Law Duty to Protect Their
         PII Under Georgia Law.

      Under Georgia law, a negligence claim has four elements: “the existence of a

duty on the part of the defendant, a breach of that duty, causation of the alleged

injury, and damages resulting from the alleged breach of the duty.” Rasnick v.


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Krishna Hosp., Inc., 713 S.E.2d 835, 837 (Ga. 2011) (citation omitted). “The

threshold issue in any cause of action for negligence is whether, and to what extent,

the defendant owes the plaintiff a duty of care.” Smith v. United States, 873 F.3d

1348, 1352 (11th Cir. 2017) (quoting City of Rome v. Jordan, 426 S.E.2d 861, 862

(Ga. 1993)).

      In its motion to dismiss, Americold argued that Appellants could not state a

claim for negligence because Georgia law does not recognize a common law duty to

safeguard PII. Americold relied upon the Georgia Supreme Court’s decision in

McConnell v. Dep’t of Labor, 828 S.E.2d 352 (Ga. 2019), contending that decision

forecloses the existence of a duty to protect personal information under Georgia law.

In McConnell, the plaintiff filed a class action against the Georgia Department of

Labor after a Department employee inadvertently sent an email including a

spreadsheet containing the private information of individuals who had applied for

unemployment benefits and other services from the Department. Id. at 356. In

addition to other claims, the plaintiff asserted a negligence claim based on the

disclosure of his information. Id. In its opinion, the Georgia Supreme Court affirmed

the Georgia Court of Appeals’ ruling that the plaintiff’s negligence claim failed

because he had not shown that the Department owed him or the class members a

duty to protect their private information. Id. at 358. Defendants in data breach cases

routinely rely on McConnell for the proposition that Georgia law does not recognize


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a common law duty to protect personal information. However, McConnell was

decided on narrower grounds than many defendants acknowledge; the Georgia

Supreme Court found not that there is no duty to protect personal information, but

only that no duty arose from the two sources the plaintiff relied upon to support his

claim: (1) the purported duty “to all the world not to subject [others] to an

unreasonable risk of harm” that was articulated in Bradley Center v. Wessner, 296

S.E.2d 693 (Ga. 1982) and is now overruled; and (2) O.C.G.A. §§ 10-1-910 and 10-

1-393.8. The McConnell Court explicitly left open the possibility that a duty to

safeguard personal information could arise under different factual or legal

circumstances. Id. at 358 n.5.

      Prior to the Georgia Supreme Court’s decision in McConnell, in In re Equifax,

Inc. Customer Data Sec. Breach Litig., 362 F. Supp. 3d 1295 (N.D. Ga. 2019), Judge

Thrash identified what those different circumstances might be. Judge Thrash

explained at length why, notwithstanding the Georgia Court of Appeals’ decision in

McConnell, a duty of care arises where a defendant “knew of a foreseeable risk to

its data security systems but failed to implement reasonable security measures.” Id.

at 1325. Even though the Georgia Supreme Court affirmed the Court of Appeals

decision in McConnell, later that year, it also endorsed Judge Thrash’s analysis in

Equifax. In Collins v. Athens Orthopedic Clinic, P.A., 837 S.E.2d 310 (Ga. 2019),

the Georgia Supreme Court overturned the lower courts’ dismissal of the plaintiffs’


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claims in a data breach case. The plaintiffs alleged that an anonymous hacker stole

the PII, including Social Security numbers, addresses, birth dates, and health

insurance details, of at least 200,000 patients of Athens Orthopedic Clinic from the

Clinic’s computer databases. Id. at 311. In overturning the lower courts’ dismissal

of plaintiffs’ negligence claims, the Collins court cited Equifax as “persuasive”

authority, and specifically declined to extend the lower court’s ruling on the duty

issue in McConnell to a negligence claim in circumstances where a cybercriminal

steals a health care provider’s patients’ sensitive personal data. Id. at 317.

      In the wake of Collins, McConnell is a decision that must be cabined to its

narrow issue—whether a Georgia state agency owed a duty to safeguard personal

information under Bradley Center or Georgia statutes. Collins implicitly presumes

such a duty and leaves it for the Georgia legislature to state otherwise. Id. at 316 n.7

(“traditional tort law is a rather blunt instrument for resolving all of the complex

tradeoffs at issue in a case such as this, tradeoffs that may well be better resolved by

the legislative process.”).

      The limits of the McConnell holding were further analyzed in Purvis v.

Aveanna Healthcare, LLC, 563 F. Supp. 3d 1360 (N.D. Ga. 2021). In Purvis, Judge

May, after an extensive analysis of Collins, rejected the defendant’s argument that

McConnell forecloses the existence of a duty to protect personal information under

Georgia law. Judge May found that the defendant healthcare company owed the


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plaintiffs a duty to safeguard their PII based on the defendant’s alleged knowledge

of the foreseeable risk of a data breach and the resulting exposure of the plaintiffs’

information. Id. at 1369. The plaintiffs alleged that the threat of cyberattacks and

data breaches to healthcare providers was widely and publicly known, and therefore

the defendant should have known of the high risk of a data breach, “but nevertheless

failed to properly guard against this foreseeable risk by implementing reasonable

security measures, which ultimately led to Plaintiffs’ injuries as a result of the Data

Breach.” Id. As Judge May explained:

      It also follows as a matter of common sense that, when patients and
      employees are required to turn over PII and PHI as a condition of
      medical care and employment, the entity receiving that information has
      some baseline obligation to adopt reasonable precautions to guard
      against known or reasonably foreseeable threats to the security of that
      information.

Id. at 1370 (emphasis added).

      The same rationale applies here. Appellants, as a condition of their

employment with Americold were required to provide Americold with sensitive and

confidential information for themselves and their beneficiaries and dependents. Doc.

16, ¶ 25. They relied on Americold to keep their PII confidential and securely

maintained, and Americold had a duty to adopt reasonable measures to protect their

PII. Id. at ¶¶ 26-27. In similar situations, other courts have found that defendants

owed plaintiffs a duty of reasonable care. See Castillo v. Seagate Tech., LLC, Case

No. 16-cv-01958-RS, 2016 WL 9280242, at *2 (N.D. Cal. Sept. 14, 2016) (alleging

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employer had duty to reasonably protect employees’ information); In re Facebook,

Inc., Consumer Priv. User Profile Litig., 402 F. Supp. 3d 767, 799 (N.D. Cal. 2019)

(finding a duty because “Facebook had a responsibility to handle its users’ sensitive

information with care”); Bass v. Facebook, Inc., 394 F. Supp. 3d 1024, 1039 (N.D.

Cal. 2019) (alleging Facebook failed to comply with industry data-security

standards).

      Here, the district court acknowledged the Purvis holding that a duty to protect

personal information can be found based on the foreseeability of a data breach. Doc.

33 at 16. It noted that the “plaintiffs alleged that the attack was foreseeable because

the defendant, a healthcare provider, had reason to know that it could be the target

of the exact type of breach it experienced.” Id. but it distinguished that case from

this one on the basis that “Appellants’ foreseeability allegations are not similarly

specific.” Id.

      Appellants alleged in the Amended Complaint that Americold could and

should have implemented numerous specific measures to prevent against

ransomware attacks that were recommended by the FBI, the United States

Cybersecurity & Infrastructure Security Agency (the “CISA”), and the Microsoft

Threat Protection Intelligence Team (the “MTPIT”). Doc. 16, ¶¶ 34-37. Appellants

further alleged the foreseeability of a ransomware attacks once Americold chose to

retain and store the Social Security numbers and other sensitive data of


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approximately 140,000 current and former employees, collected since at least 2000,

in an Internet-accessible environment, as follows:

         • Given that Defendant was storing the PII of approximately 140,000
           individuals, collected since at least 2000, Defendant could and should
           have implemented all of the above measures [recommended by the FBI,
           the CISA, and the MTPIT] to prevent and detect ransomware attacks.
           Id., ¶ 38.

         • By obtaining, collecting, and storing the PII of Plaintiffs and Class
           Members, Defendant assumed legal and equitable duties and knew or
           should have known that it was responsible for protecting the PII from
           disclosure. Id., ¶ 42.

         • Defendant’s negligence in safeguarding the PII of Plaintiffs and Class
           Members is exacerbated by the repeated warnings and alerts directed to
           protecting and securing sensitive data. Id., ¶ 45.

         • Despite the prevalence of public announcements of data breach and
           data security compromises, Defendant failed to take appropriate steps
           to protect the PII of Plaintiffs and Class Members from being
           compromised. Id., ¶ 46.

         • At all relevant times, Defendant knew, or reasonably should have
           known, of the importance of safeguarding the PII of Plaintiffs and Class
           Members, including Social Security numbers and dates of birth, and of
           the foreseeable consequences that would occur if Defendant’s data
           security system was breached, including, specifically, the significant
           costs that would be imposed on Plaintiffs and Class Members as a result
           of a breach. Id., ¶ 58.

         • Defendant was, or should have been, fully aware of the unique type and
           the significant volume of data on Defendant’s file servers, amounting
           to potentially tens or hundreds of thousands of individuals’ detailed,
           personal information and, thus, the significant number of individuals
           who would be harmed by the exposure of the unencrypted data. Id., ¶
           60.



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          • Plaintiffs and the Nationwide Class were the foreseeable and probable
            victims of any inadequate security practices and procedures. Defendant
            knew or should have known of the inherent risks in collecting and
            storing the PII of Plaintiffs and the Nationwide Class, the critical
            importance of providing adequate security of that PII, and the necessity
            for encrypting PII stored on Defendant’s systems. Id., ¶ 131.

          • Defendant’s own conduct created a foreseeable risk of harm to
            Plaintiffs and the Nationwide Class. Defendant’s misconduct included,
            but was not limited to, its failure to take the steps and opportunities to
            prevent the Data Breach as set forth herein. Defendant’s misconduct
            also included its decisions not to comply with industry standards for the
            safekeeping of the PII of Plaintiffs and the Nationwide Class, including
            basic encryption techniques freely available to Defendant. Id., ¶ 132.


      The district court acknowledged that Appellants made these allegations of

foreseeability but found they did “not provide any factual allegations to plausibly

support a conclusion that Americold had reason to be on guard for this type of

ransomware attack” or that “Americold’s type of business had cause to be

particularly on guard against such an attack.” Doc. 33 at 16-17. The district court

thus concluded that Appellants’ allegations of foreseeability failed to bring this case

outside of McConnell’s holding.

      The district court reasoned, as a matter of law, that the foreseeability of a

ransomware attack turns on the defendant’s type of business. In other words,

Appellants were required to specifically allege why Americold’s type of business

gave it cause to be on guard against ransomware attacks. The district court reached



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this conclusion notwithstanding Appellants’ allegations, including (i) that

Americold should have heeded public warnings from the FBI, the CISA, and the

MTPIT regarding ransomware attacks and (ii) that Americold had cause to be on

guard against ransomware attacks because it stored the Social Security numbers and

other sensitive information of approximately 140,000 current and former employees

in an Internet-accessible environment. Appellants respectfully submit that any entity

choosing to store the Social Security numbers and other sensitive data of more than

100,000 current and former employees in an Internet-accessible environment has

cause to be on guard against a ransomware attack, regardless of the industry in which

it operates.

       The district court’s demand for such specificity at the pleading stage was

misplaced. The Federal Rules of Civil Procedure require only that the complaint

contain “a short and plain statement of the claim showing that the pleader is entitled

to relief.” U.S. v. Baxter Intern. ., Inc., 345 F.3d 866, 880 (11th Cir. 2003) (citing

Fed. R. Civ. P. 8(a)). While the allegations must be sufficient to “raise a right to

relief above the speculative level,” Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

555 (2007), and cross “the line from conceivable to plausible,” Ashcroft v. Iqbal,

556 U.S. 662 (2009), “at the pleading stage, general factual allegations of injury

resulting from the defendant’s conduct may suffice, for on a motion to dismiss [a

court] presum[es] that general allegations embrace those specific facts that are


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necessary to support the claim.” Mulhall v. UNITE HERE Local 355, 618 F.3d 1279,

1286 (11th Cir. 2010) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 561

(1992) (citation omitted)); see also Drummond v. City of Brunswick, Ga., 2005 WL

8157707, at *2 (S.D. Ga. Jan. 31, 2005), aff’d, 138 F. App’x 296 (11th Cir. 2005)

(“At the pleadings stage of the proceedings, the Court was obliged to presume that

Plaintiff's general allegations embraced the specific facts required to sustain this

claim.”).

       Appellants sufficiently alleged that Americold was aware of the sensitive

nature of its employees’ personal information and should have taken appropriate

steps to protect their PII from being compromised. The district court therefore should

have allowed Appellants’ negligence claim to proceed.

       B. Appellants Sufficiently Alleged Their Breach of Implied Contract
          Claim.

       Under Georgia law, an implied-in-fact contract is one not created or evidenced

by distinct and explicit language; it is inferred by the law as a matter of reason and

justice. Classic Restorations, Inc. v. Bean, 272 S.E.2d 557, 562 (Ga. Ct. App. 1980)

(citations omitted). Such contracts arise from the nonverbal conduct (a “continued

course of dealing”) of the parties. See J.M. Clayton Co. v. Martin, 339 S.E.2d 280,

282 (Ga. Ct. App. 1985). For this reason, “it is a question of fact whether there existed

an implied contract . . . which must generally be left to the jury for determination.”

Tatum v. Moss, 198 S.E. 814, 815 (Ga. Ct. App. 1938).

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       Here, Appellants alleged that they provided their personal information to

Americold as a condition of their employment. Doc. 16, ¶¶ 156-57. In exchange,

Americold accepted the responsibility and duty to keep their PII safe. Id. Americold

became a party to those implied contracts when it took control and possession of

Appellants’ PII and agreed to be bound by its own privacy obligations. Id. Each

party understood the nature and content of the arrangement. Id.

      The district court held that “to state a claim requires more,” citing

Longenecker-Wells v. Benecard Servs. Inc., 658 F. App’x 659, 662 (3d Cir. 2016).

In that case, the Third Circuit found that the plaintiffs’ breach of implied contract

claim against their employer failed because they did not plead any company-specific

documents or policies from which one could infer an implied contractual duty to

protect the plaintiffs’ information. But other courts have taken a different approach.

In another data breach case in which employees’ PII was disclosed to unauthorized

third parties, the court denied the employer’s motion to dismiss the employees’

breach of implied contract claim, finding that by requiring and obtaining the

employees’ PII as part of the employment relationship, the employer “evince[ed] an

implicit promise . . . to act reasonably to keep its employees’ PII safe.” Sackin v.

TransPerfect Glob., Inc., 278 F. Supp. 3d 739, 750 (S.D.N.Y. 2017). The court

explained, “[w]hile TransPerfect may not have explicitly promised to protect PII

from hackers in Plaintiffs’ employment contracts, ‘it is difficult to imagine how, in


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our day and age of data and identity theft, the mandatory receipt of Social Security

numbers or other sensitive personal information would not imply the recipient’s

assent to protect the information sufficiently.’” Id. (quoting Castillo v. Seagate

Tech., LLC, No. 16 civ. 1958, 2016 WL 9280242, at *9 (N.D. Cal. Sept. 14, 2016)).

      Similarly, in Mackey v. Belden, Inc., No. 4:21-CV-00149-JAR, 2021 WL

3363174, at *9 (E.D. Mo. Aug. 3, 2021), the court reasoned that the plaintiff in an

employee/employer data breach case “plausibly alleged the existence and breach of

an implied-in-fact contract requiring [the employer] to adequately secure its

employees’ PII.” The court further recognized that “[w]hether such a contract

actually existed is a question of fact inappropriate for resolution at the motion to

dismiss stage.” Id. The same is true here, and the district court should not have

dismissed Appellants’ claim at the pleading stage.

II. The District Court Abused Its Discretion in Denying Appellants’ Motion to
    Vacate and for Leave to Amend the Complaint Pursuant to Rule 59(e) or
    Rule 60(b).

      Although Appellants contend the district court erred by dismissing their

negligence and breach of implied contract claims, once the Order of Dismissal and

Judgment were entered, they moved, pursuant to Rules 59(e) and 60(b), to vacate

the judgment and for leave to amend their complaint to rectify the pleading

deficiencies identified by the district court. Attached to their motion, Appellants

included a proposed Second Amended Complaint that included new allegations


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directly addressing the concerns raised by the Court in the Order of Dismissal.

Without addressing the substance of the new allegations at all, the district court

denied Appellants’ motion.

      The Court reviews for abuse of discretion the denial of leave to amend, the

denial of a Rule 59(e) motion to alter or amend a judgment, and the denial of a Rule

60(b) motion. Hartford Cas., 828 F.3d at 1333; Farmville Mfg. Co., 705 F.2d at

1307. “‘A district court abuses its discretion if it applies an incorrect legal standard,

applies the law in an unreasonable or incorrect manner, follows improper procedures

in making a determination, or makes findings of fact that are clearly erroneous.’”

Hartford Cas., 828 F.3d at 1333–34 (quoting United States v. Toll, 804 F.3d 1344,

1353–54 (11th Cir. 2015)). The district court abused its discretion here by applying

the wrong legal standard.

      A. The Rule 15 Standard for the Amendment of Pleadings.

      The amendment of pleadings is typically governed by Federal Rule of Civil

Procedure 15. Under Rule 15(a)(1), “[a] party may amend its pleading once as a

matter of course within: (A) 21 days after serving it, or (B) if the pleading is one to

which a responsive pleading is required, 21 days after service of a responsive

pleading or 21 days after service of a motion under Rule 12(b), (e), or (f), whichever

is earlier.” Under Rule 15(a)(2), if a party cannot amend its pleading as a matter of

course under Rule 15(a)(1), it “may amend its pleading only with the opposing


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party’s written consent or the court’s leave.” Rule 15(a)(2) provides that “[t]he court

should freely give leave when justice so requires.”

      “[T]he general purpose of Rule 15 is to ensure that cases are decided on their

merits rather than on the technical niceties of the parties’ pleadings.” In re Clarus

Corp. Securities Litigation, 2003 WL 23325303, *1 (N.D. Ga. 2003) (citing Dussouy

v. Gulf Coast Investment Corp., 660 F.2d 594, 598 (5th Cir. 1981)2). Reflecting this

desire to give plaintiffs a chance to cure deficiencies before their complaints are

dismissed with prejudice, a rule has developed that “[w]here it appears a more

carefully drafted complaint might state a claim upon which relief can be granted, . .

. a district court should give a plaintiff an opportunity to amend his complaint instead

of dismissing it.” Bank v. Pitt, 928 F.2d 1108, 1112 (11th Cir. 1991), abrogated on

other grounds, Wagner v. Daewoo Heavy Indus. Am. Corp., 314 F.3d 541, 542 (11th

Cir. 2002). 3 This rule applies even where the plaintiff does not seek leave to amend



2
 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the
Eleventh Circuit adopted as precedent decisions of the former Fifth Circuit rendered
prior to October 1, 1981.
3
  In Wagner, the Court held that a “district court is not required to grant a plaintiff
leave to amend his complaint sua sponte when the plaintiff, who is represented by
counsel, never filed a motion to amend nor requested leave to amend before the
district court.” 314 F.3d at 542 (emphasis added). The Court adopted this rule in the
Rule 12(b)(6) context “to prevent litigants from getting ‘two bites at the apple’ when
appealing final orders of district courts,” such that if this Court reversed the
dismissal, the appellant would win on the merits, and if the Court affirmed the
dismissal, the appellant would still have “another chance to replead without ever

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until after the district court renders final judgment. Thomas v. Town of Davie, 847

F.2d 771, 773 (11th Cir. 1988).

      Under Rule 12(b)(6), a complaint may be dismissed if “it appears beyond

doubt that the plaintiff can prove no set of facts in support of his claim which would

entitle him to relief. Conley v. Gibson, 355 U.S. 41, 47 (1957). A “dismissal for

failure to state a claim under [Rule 12(b)(6) ] is a ‘judgment on the merits.’”

N.A.A.C.P. v. Hunt, 891 F.2d 1555, 1560 (11th Cir. 1990) (quoting Federated Dep’t

Stores, Inc. v. Moitie, 452 U.S. 394, 399 n.3 (1981)). “An adjudication on the merits

is, in turn, presumed to operate as a dismissal with prejudice unless the district court

specifies otherwise.” Eiber Radiology, Inc. v. Toshiba Am. Med. Sys., Inc., 673 F.

App'x 925, 929 (11th Cir. 2016) (per curiam) (citing Semtek Int’l Inc. v. Lockheed

Martin Corp., 531 U.S. 497, 505 (2001)).

      Although “the decision whether to deviate from the default of dismissal with

prejudice is left to the district court’s discretion, this Circuit has provided some

guidance”:

      First, we have noted that a district court’s discretion to dismiss a
      complaint without leave to amend is “severely restricted” by Federal
      Rule of Civil Procedure 15(a)(2) (“Rule 15(a)(2)”), which mandates
      that leave to amend, when requested by the plaintiff, “be freely given
      when justice so requires.” See Bryant, 252 F.3d at 1163 (applying the
      standard for Rule 15(a)(2) amendment to the decision whether to

having to ask the district court for one.” Vibe Micro, Inc. v. Shabanets, 878 F.3d
1291, 1295 (11th Cir. 2018).


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      dismiss with or without prejudice under Rule 12(b)(6)). In cases where
      the plaintiff has acted in good faith and has not been given a first chance
      to amend its initial complaint, we have treated dismissal with prejudice
      as a remedy of last resort. See, e.g., Justice v. United States, 6 F.3d
      1474, 1482 n.15 (11th Cir. 1993) (noting that dismissal with prejudice
      is appropriate “only in those situations where a lesser sanction would
      not better serve the interests of justice”) (internal quotation marks
      omitted).

       And we have previously espoused the view that, “where a more
      carefully drafted complaint might state a claim,” the district court
      should grant a plaintiff at least one chance to amend its complaint
      before dismissing the action with prejudice. See Bank v. Pitt, 928 F.2d
      1108, 1112 (11th Cir. 1991) (requiring district courts to grant sua sponte
      all plaintiffs at least one opportunity to amend), overruled by Wagner
      v. Daewoo Heavy Indus. Am. Corp., 314 F.3d 541, 542 (11th Cir. 2002).

Id.

      Post-Wagner, courts are no longer required to sua sponte give plaintiffs an

opportunity to amend a complaint when they have not filed a motion or requested

leave to amend. But when plaintiffs have requested leave to amend, it is still the

position of this Court that plaintiffs should be given at least one opportunity to

amend where it appears that a more carefully drafted complaint might state a claim

for which relief may be granted. See Wagner, 314 F.3d at 545 (“We, however, also

note that the purpose of allowing amendments is to resolve litigation on the merits,

and decisions based upon the merits generally are favored under the Rules.”); see

also Gen. Star Indem. Co. v. Triumph Hous. Mgmt., LLC, 855 F. App’x 599, 609

(11th Cir. 2021) (“We further conclude that the district court erred in dismissing

Triumph’s claims for negligent procurement against AmWINS and Cone at the

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pleading stage, without giving Triumph at least one opportunity to amend its

complaint to allege additional relevant facts.”). This rule applies even where the

plaintiff does not seek leave until after the district court renders final judgment.

Thomas, 847 F.2d at 773.

      B. Once Judgment Has Been Entered, Rules 59(e) and 60(b) Are the
         Proper Mechanisms to Seek Leave to File an Amended Complaint.

      By its plain language, Rule 15(a) “governs amendment of pleadings before

judgment is entered; it has no application after judgment is entered.” Jacobs v.

Tempur-Pedic Int’l, Inc., 626 F.3d 1327, 1344 (11th Cir. 2010). However, even after

dismissal, a plaintiff “may still move the court for leave to amend, and such

amendments should be granted liberally.” Czeremcha v. Int’l Ass’n of Machinists &

Aerospace Workers, AFL-CIO, 724 F.2d 1552, 1556 (11th Cir. 1984) (emphasis

added) (citation omitted). A plaintiff may also “move for relief under Rules 59(e) or

60(b) on the basis of proposed amendments even after the action is dismissed and

final judgment is entered.” Id.

      Typically, “Rule 59(e) allows courts to alter judgments only where there is

‘newly-discovered evidence or manifest errors of law or fact.’” U.S. Equal

Employment Opportunity Commission v. St. Joseph’s Hosp., 842 F.3d 1333, 1349

(11th Cir. 2016) (quoting Arthur v. King, 500 F.3d 1335, 1343 (11th Cir. 2007)).

Rule 60(b)(6) provides that “the court may relieve a party or its legal representative




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from a final judgment, order, or proceeding for … any other reason that justifies

relief.”

       Unlike Rule 15(a), which exists for the purpose of ensuring cases are decided

on their merits rather than technicalities, Rules 59(e) and 60(b) serve the contrasting

purpose of promoting “finality, predictability, and preserving judicial resources.”

Lederman v. United States, 539 F. Supp. 2d 1, 2 (D.D.C. 2008). Accordingly, “[i]n

practice, because of the narrow purposes for which they are intended, Rule 59(e)

motions are typically denied.” 11 Charles Alan Wright, et al., Federal Practice and

Procedure § 2810.1 (2d ed. 1995). Similarly, relief under Rule 60(b) “is an

extraordinary remedy which may be invoked only upon a showing of exceptional

circumstances.” Griffin v. Swim-Tech Corp., 722 F.2d 677, 680 (11th Cir. 1984)

(citing Ackermann v. United States, 340 U.S. 193, 202 (1950)).

       Notwithstanding the high bar for relief under Rules 59(e) and 60(b), this Court

has held that rectifying pleading issues through proposed amendments is a proper

ground for relief under both rules. See Uzuegbunam v. Preczewski, 781 F. App’x

824 (11th Cir. 2019), reversed and remanded on other grounds, 141 S. Ct. 792 (Mar.

8, 2021) (rejecting Appellants’ argument that they were deprived of the ability to

file a Rule 15(a) motion for leave to amend after the district court entered judgment

immediately after granting dismissal because “Appellants could still have moved

under Rule 60(b) or 59(e) on the ground they could rectify the pleading issues in the


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First Amendment Complaint through further proposed amendments”) (citing

Czeremcha, 724 F.2d at 1556).

      C. Although Rule 15(a) Is Not the Proper Mechanism to Seek Post-
         Judgment Leave to Amend, the Same Standards that Govern Leave to
         Amend Under Rule 15(a) Also Govern Leave to Amend Under Rules
         59(e) and 60(b).

      A line of cases dating back to the former Fifth Circuit have instructed that

when a party moves pursuant to Rule 59(e) or Rule 60(b) to rectify pleading issues

through proposed amendments, Rule 15(a)’s lenient standard should govern the

decision whether to grant leave to amend post-dismissal. In Dussouy v. Gulf Coast

Inv. Corp., 660 F.2d 594, 597 n.1 (5th Cir. 1981), the Fifth Circuit found that “the

disposition of the plaintiff’s motion to vacate under Rule 59(e) should be governed

by the same considerations controlling the exercise of discretion under rule 15(a).

Consequently, our discussion of the motion under rule 15(a) applies equally to the

motion under rule 59(e).” Dussouy has been followed in subsequent published and

unpublished cases. See, e.g., Thomas v. Farmville Mfg. Co., Inc., 705 F.2d 1307,

1307-08 (11th Cir. 1983) (“A grant of leave to amend is particularly appropriate

following dismissal of a complaint for failure to state a claim, and, in the absence of

a declared or apparent reason, an outright refusal to grant leave to amend is an abuse

of discretion.”); Thomas v. Town of Davie, 847 F.2d at 773 (“The same [Rule 15(a)]

standards apply when a plaintiff seeks to amend after a judgment of dismissal has

been entered by asking the district court to vacate its order of dismissal pursuant to

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Fed. R. Civ. P. 59(e).”); Vanderberg v. Donaldson, 259 F.3d 1321, 1326 (11th Cir.

2001) (“Rule 15(a)’s abuse of discretion standard applies when a plaintiff seeks to

amend an unamended complaint after entry of judgment by moving to vacate a

dismissal pursuant to Fed. R. Civ. P. 59(e).”); Spanish Broad. Sys. of Fla., Inc. v.

Clear Channel Commc’ns, Inc., 376 F.3d 1065, 1077 (11th Cir. 2004) (“In this

circuit, these same standards apply when a plaintiff seeks to amend after a judgment

of dismissal has been entered by asking the district court to vacate its order of

dismissal pursuant to Fed. R. Civ. P. 59(e).”) (internal quotation marks and citation

omitted); see also Uzuegbunam, 781 F. App’x at 833; Martinair Holland, N.V. v.

Benihana, Inc., 780 F. App’x 772, 776 (11th Cir. 2019) (“Even after a complaint is

dismissed and a plaintiff’s right to amend under Rule 15(a) terminates, however, the

plaintiff may still move for leave to amend, and ‘such amendments should be granted

liberally.’”); Higdon v. Fulton County, Georgia, 746 F. App’x 796, 801 (11th Cir.

2018) (“The same standard [under Rule 15(a)] applies when a plaintiff seeks to

amend after a judgment of dismissal has been entered by asking the district court to

vacate its order of dismissal pursuant to Fed. R. Civ. P. 59(e).”); Pioneer Metals,

Inc. v. Univar USA, Inc., 168 F. App’x 335, 336 (11th Cir. 2006) (“These ‘same

standards [under Rule 15(a)] apply when a plaintiff seeks to amend after a judgment

of dismissal has been entered by asking the district court to vacate its order of

dismissal pursuant to Fed. R. Civ. P. 59(e).’”).


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      In its Order denying the motion to vacate, the district court acknowledged this

line of cases, but found itself more persuaded by a recent unpublished case, OJ

Commerce, LLC v. Ashley Furniture Indus., Inc., 817 F. App’x 686, 693 (11th Cir.

2020), in which the Court stated that, absent newly discovered evidence or manifest

errors of law or fact, a court does not abuse its discretion by denying leave to file a

post-dismissal amendment. While acknowledging that O.J. Commerce had not

explicitly overruled this Circuit’s earlier holdings, the district court nevertheless

concluded “that the law at stated in OJ Commerce accurately captures the standard

for a post-judgment motion for leave to amend a complaint.” (Doc. 39 at 8).

      However, the district court’s reliance on OJ Commerce was misplaced.

Notably, OJ Commerce does not discuss Dussouy, Thomas, Czeremcha, or Spanish

Broadcasting and thus cannot be fairly read to overrule those cases explicitly or

implicitly. Furthermore, as the Court noted in OJ Commerce, the appellant appealed

only from the order of dismissal in that case and “did not expressly appeal the district

court’s order denying Rule 59(e) or Rule 60(b)(6) relief.” Id. at 693. Thus, the Court

explained that even if it had jurisdiction to consider the denial of Rule 59(e) or 60(b)

relief, no grounds existed for the Court to determine whether the district court abused

its discretion in denying appellant leave to amend its complaint.

      Finally, it was not for the district court to “pick” which standard it ultimately

chose to apply. As this Court has explained:


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      A prior panel decision of this Court is binding on subsequent panels
      and can be overturned only by the Court sitting en banc. Bonner v. City
      of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981). When faced with an
      intra-circuit split we must apply the “earliest case” rule, meaning “when
      circuit authority is in conflict, a panel should look to the line of
      authority containing the earliest case, because a decision of a prior
      panel cannot be overturned by a later panel.” Walker v. Mortham, 158
      F.3d 1177, 1188 (11th Cir. 1998). We have deemed this approach to be
      more respectful of the prior precedent rule than the alternative, which
      would be to “tell judges that once they find a division of authority they
      are free to throw precedent to the wind.” Id. at 1189.

Morrison v. Amway Corp., 323 F.3d 920, 929 (11th Cir. 2003). Accordingly, the

district court was bound to follow Dussouy, Thomas, and the earlier line of

precedent. The application of the incorrect legal standard is an abuse of discretion

requiring reversal. Hartford Cas., 828 F.3d at 1333-34.

      The district court noted that many of the cases upon which Appellants relied

were based on Thomas and reasoned that Thomas was distinguishable because “here,

Plaintiffs did not file a motion for leave to amend the complaint pre-judgment.” Doc.

39 at 10. But the Order of Dismissal was entered on January 19, 2022 and the

Judgment was entered that same day. Appellants could not possibly have filed a pre-

judgment motion for leave to amend the complaint unless the district court would

have had them file such a motion while the motion to dismiss was still pending. But

as one court wisely noted, “[p]arties should not have to preemptively file motions

seeking leave to amend when they do not know how the Court will resolve a motion

to dismiss. Such a practice would increase needless filings when the Court may not


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grant the motion to dismiss—which would eliminate the need for a motion seeking

leave to amend.” S2 Automation LLC v. Micron Tech., Inc., 281 F.R.D. 487, 498

(D.N.M. 2012).

      Moreover, plaintiffs whose complaints are subject to a pending motion to

dismiss should not be required to game out whether they need to file a preemptive

motion for leave to amend prior to the court’s ruling on the motion to dismiss in case

the court dismisses their claims with prejudice and the judgment is entered

immediately, thus depriving them of an opportunity to amend under Rule 15 and

subjecting them to the almost insurmountable standards of Rule 59(e) and 60(b).

“[P]leading is [not] a game of skill in which one misstep by counsel may be decisive

to the outcome” but rather serves the “purpose . . . [of] facilitat[ing] a proper decision

on the merits.” United States v. Hougham, 364 U.S. 310, 317 (1960); Swierkiewicz

v. Sorema N. A., 534 U.S. 506, 514 (2002) (recognizing that “The liberal notice

pleading of Rule 8(a) is the starting point of a simplified pleading system, which was

adopted to focus litigation on the merits of a claim.”); see also Fed. R. Civ. P. 8(d)

(“Pleadings must be construed so as to do justice.”). It is “entirely contrary to the

spirit of the Federal Rules of Civil Procedure for decisions on the merits to be

avoided on the basis of . . . mere technicalities.” Foman v. Davis, 371 U.S. 178, 181

(1962).




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      D. Appellants Were Not Required to Show Good Cause to File the
         Proposed Amended Complaint.

      Searching for any alternative basis to justify not allowing Appellants at least

one opportunity to amend their complaint, the district court stated that even if

Appellants’ motion for leave to amend was not subject to the standards of Rule 59(e)

or 60(b), they still would not be entitled to relief because the district court entered

an order (Doc. 20) adopting the parties’ Joint Preliminary Report and Discovery Plan

(Doc. 19), which proposed a thirty-day deadline for amending the pleadings. But the

district court, in fact, did not adopt that thirty-day deadline.

      On July 7, 2021, the parties filed a Joint Preliminary Report and Discovery

Plan that, among other things, stated as follows:

             (b) Amendments to the pleadings submitted LATER
             THAN THIRTY DAYS after the Joint Preliminary Report
             and Discovery Plan is filed, or should have been filed, will
             not be accepted for filing, unless otherwise permitted by
             law.

Doc. 19 at 6-7 (emphasis added).

      On July 20, 2021, the Court entered a Scheduling Order stating as follows:

             Upon review of the information contained in the Joint
             Preliminary Report and Discovery Plan form completed
             and filed by the parties, the Court orders that the time
             limits for adding parties, amending pleadings, filing
             motions, completing discovery, and discussing settlement
             are as set out in the Federal Rules of Civil Procedure and
             the Local Rules of this Court, except as herein modified:

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             The parties’ request for an 8-month discovery track is
             GRANTED.

Doc. 20 at 1 (first emphasis added). Thus, according to the Scheduling Order, “the

time limits for … amending pleadings … are as set out in the Federal Rules of Civil

Procedure and the Local Rules of this Court,” not “[no] later than thirty days after

the Joint Preliminary Report and Discovery Plan is filed.”

      The parties’ mere filing of the Joint Preliminary Report and Discovery Plan

did not create any deadlines in this case. See McKinley v. Kaplan, 177 F.3d 1253,

1257 (11th Cir. 1999) (finding “no authority for the proposition that a proposed, but

not entered, joint scheduling order is binding”). “In the absence of a dispositive

scheduling order, whether leave to amend should be granted is governed by the more

liberal standard set forth in Rule 15(a).” Id.

      For instance, in Alcoa Inv. v. Univ. Alloy Corp., No. 1:15-CV-01466-ELR,

2016 WL 11499627 (N.D. Ga. Aug. 31, 2016), the parties filed a Preliminary Report

and Discovery Plan [JPRDS] that, like the filing here, “set the deadline for filing

amendments to the complaint thirty (30) days from the entry of the JPRDS.” Id. at

*2. The scheduling order acknowledged the filing of the JPRDS but did not set a

deadline for the filing of amending pleadings. Id. “Accordingly, the Court f[ound]

that no Court-ordered deadline existed for filing pleadings.” Id. The court further

held that, pursuant to McKinley, the parties’ filing did not establish any deadlines.


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Id.; see also Datastrip Int’l Ltd. v. Intacta Techs., Inc., 253 F. Supp. 2d 1308 (N.D.

Ga. 2003) (refusing to apply the Rule 16 good cause standard where the court

acknowledged it did not adopt the thirty-day deadline in the parties’ Preliminary

Report and Discovery Schedule, “but rather entered a different Scheduling Order

[that did] not set forth deadlines for filing amendments.”); Diamond Power Int’l Inc.

v. Clyde Bergemann, Inc., 1:04-CV-1708-RWS, 2006 WL 8431353 (N.D. Ga. June

21, 2006) (where the court entered a scheduling order stating that “the time limits

for … amending pleadings … are set out in the Federal Rules of Civil Procedure and

the Local Rules of this Court,” it had not adopted the provisions wet out in the Joint

Preliminary Report and Discovery Plan, and pursuant to the local rules, the

applicable deadline for the amending of pleadings was 30 days after the

commencement of discovery).

      Here, the Scheduling Order provides that the deadline to amend pleadings is

“as set out in the Federal Rules of Civil Procedure and the Local Rules of this Court.”

Doc. 20 at 1. Local Rule 7.1(A)(2) provides that motions other than those specified

in LR 7.2 “must be filed WITHIN THIRTY (30) DAYS after the beginning of

discovery.” Discovery had not yet begun in this case as Americold had not yet

answered the complaint. See LR 26.2(A) (“The discovery period shall commence

thirty days after the appearance of the first defendant by answer to the complaint,

unless the parties mutually consent to begin earlier.”). Accordingly, the deadline to


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file amended pleadings had not yet passed and Appellants were not required to show

good cause to file their proposed amended complaint. Moreover, even if Appellants

motion had been filed outside of the deadlines set forth in the Scheduling Order, “the

Court undoubtedly ha[d] the discretion to amend any such scheduling order to serve

the interest of justice.” King v. CVS/Caremark Corp., No. 07-21824-CIV, 2007 WL

9705958, at *2 (S.D. Fla. Dec. 12, 2007).

      Even assuming arguendo that Appellants were required to show good cause

for leave to amend their complaint, they met that threshold in this case. Appellant

Sheffler amended once as a matter of course, whereas Appellants Baugh, Goss, and

Rogers had not yet amended their claims at all. Appellants did not seek to add any

new claims to the complaint, but merely to rectify the defects the Court identified in

dismissing their negligence and breach-of-implied-contract claims. See, e.g., Heat

Techs., Inc. v. Papierfabrik August Koehler SE, No. 1:18-cv-01229-SDG, 2021 WL

118642, at *3 (N.D. Ga. Jan. 13, 2021) (finding good cause to allowing amended

pleading eight months after deadline for amended pleadings where amendment

followed dismissal of claims); Ermini v. Scott, No. 2:15-cv-701-FtM-99CM, 2016

WL 11410895, at *1-2 (M.D. Fla. Oct. 24, 2016) (finding good cause to allow

plaintiff to amend complaint after deadline to amend pleadings had passed where

amendment was limited to addressing issues raised in order on motion to dismiss).




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      E. The Court Did Not Determine that the Proposed Amendment Would
         Be Futile.

      What is notably absent from the district court’s Order denying the motion to

vacate and for leave to amend is any analysis of the new allegations included in the

proposed Second Amended Complaint as well as any consideration of whether the

new allegations were sufficient to cure the deficiencies the district court identified

in the dismissed Amended Complaint.

      The proposed amendments in the Second Amended Complaint directly

address the concerns raised by the district court in the Order of Dismissal. In that

Order, the district court found dismissal of Appellants’ negligence claim warranted

because they did “not provide any factual allegations to plausibly support a

conclusion that Americold had reason to be on guard for this type of ransomware

attack,” thus failing to establish that the foreseeability of the attack imposed a duty

upon Americold to guard against such an attack. Doc. 33 at 17. The proposed Second

Amended Complaint directly addresses these findings by relying, among other

things, on an article that Americold posted on its website prior to the Data Breach

acknowledging that, as a logistics company, it was at a foreseeable risk for

“ransomware attacks,” and that such ransomware attacks could result in the exposure

of personal data. See Doc. 35 at 10. The proposed Second Amended Complaint also

alleges that “more than two years before the Data Breach, Defendant filed an annual

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report with the Securities Exchange Commission that acknowledged, among other

things, that Defendant was “at risk from, and may be impacted by, cybersecurity

attacks” that “could compromise the confidential information of [Defendant’s]

employees.” Doc. 35 at 11. These and several other proposed allegations (see id. at

9-14) are sufficient to allege the kind of foreseeability giving rise to a duty that was

found sufficient to survive the motion to dismiss in Purvis.

      As for Appellants’ proposed breach-of-implied-contract claim, the district

court held in the Order of Dismissal that, to state a viable claims, Appellants “must

allege facts to allow a plausible inference that Americold intended to bind itself to

protect such Plaintiff’s information.” Doc. 33 at 19-20. The proposed Second

Amended Complaint directly addresses these findings by attaching and quoting from

Americold’s Privacy Notice, in which Americold promised to implement

“appropriate technical and organizational security measures” to protect the

applicants against “unauthorized disclosure” and “unauthorized access.” See Doc.

35 at 15-17. The language of the Privacy Notice is sufficient to demonstrate

Americold’s intention to bind itself to protect Appellants’ private information.

      The district court should have allowed Appellants to amend their complaint

to include these new allegations. Appellant Sheffler, who filed the original

complaint, amended his claims once as a matter of course, as permitted by Rule

15(a)(1)(B). Appellants Baugh, Goss, and Rogers asserted claims for the first time


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in the Amended Complaint. Believing their claims to be meritorious, it wasn’t until

the district court granted the motion to dismiss and identified the weaknesses in their

Amended Complaint that Appellants had notice of what kind of additional

allegations were necessary to remedy those defects.

      This Court has noted, “We have never required district courts to grant

counseled plaintiffs more than one opportunity to amend a deficient complaint, nor

have we concluded that dismissal with prejudice is inappropriate where a counseled

plaintiff has failed to cure a deficient pleading after having been offered ample

opportunity to do so.” Eiber Radiology, 673 F. App’x at 930 (emphasis added). Here,

Appellants were offered no opportunity to cure their complaint once the district court

identified its deficiencies, even though the defects were easily curable through the

addition of more specific factual allegations. The denial of the opportunity for them

to amend their complaint and have their claims decided on their merits is an abuse

of discretion that should be reversed.

                                  CONCLUSION

      The district court erred in dismissing Appellants’ negligence and breach of

implied contract claims. To the extent that dismissal of those claims was appropriate,

the district court abused its discretion by not granting Appellants’ motion to vacate

the Judgment and grant them leave to file an amended complaint to cure the defects




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identified by the court. For these reasons, this Court should reverse these rulings and

remand this case to the district court for further proceedings.



Dated: July 29, 2022                    Respectfully Submitted,


                                        /s/ John A. Yanchunis
                                        John A. Yanchunis
                                        Kenya Reddy
                                        MORGAN AND MORGAN
                                        201 N. Franklin Street, 7th Floor
                                        Tampa, Florida 33602
                                        Tel: (813) 202-7185
                                        Fax: (813) 222-4738

                                        Attorneys for Plaintiffs-Appellants Sean
                                        Sheffler, Ty Baugh, Belinda Goss, and
                                        Travis Rogers




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this Brief complies with the with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type-style requirements of Fed. R.

App. P. 32(a)(6). This brief contains 9141 words, excluding the parts of the Brief

exempted by Fed. R. App. P. 32(f). It has been prepared in a proportionally spaced

font using Microsoft Word in Times New Roman, 14 point font.



                                             /s/ John A. Yanchunis

                                             Counsel for Plaintiffs-Appellants




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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on July 29, 2022, I electronically filed a true and

correct copy of the foregoing brief with the Clerk of the Court using the CM/ECF

system, which will send notification to all attorneys of record in this matter.

                                        /s/ John A. Yanchunis

                                        Counsel for Plaintiffs-Appellants




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